Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.636 Page 1 of 9




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  7 University; Andrea Parashos; and Lee
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  8
                          UNITED STATES DISTRICT COURT
  9
                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11
      John Lema,                              Case No. 21CV2131 JAH KSC
 12
                   Plaintiff,                 REPLY BRIEF IN SUPPORT OF
 13                                           DEFENDANTS PARASHOS AND
           v.                                 MINTZ’S SPECIAL MOTION TO
 14                                           STRIKE PLAINTIFF’S FIRST
    The Board of Trustees of the California   AMENDED COMPLAINT [C.C.P. §
 15 State University System, through its      425.16] AND FOR ATTORNEYS’
    subdivision San Diego State University,   FEES
 16 Andrea Parashos (in her Individual
    Capacity), Lee Mintz (in her Individual   Hearing Date: August 23, 2023
 17 Capacity), and Does 1-20 (in Their        Time:         2:00 p.m.
    Individual Capacities),
 18                                           District Judge: Hon. John A. Houston
                 Defendants.                  Crtrm.:         13B
 19                                           Mag. Judge: Hon. Karen S. Crawford
                                              Crtrm:          Suite 1010
 20                                           Trial Date:     Not Set
 21                                                 EXEMPT FROM FEES
                                                     GOVT. CODE § 6103
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                                                              Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.637 Page 2 of 9




  1                                I.    INTRODUCTION
  2         This motion can be granted because (1) Defendants have met their burden to
  3 show that the state law claims here arise out of communications protected by
  4 California’s anti-SLAPP statute and (2) Plaintiff has failed to meet his burden to
  5 produce admissible evidence showing he has a probability of prevailing on his
  6 claims.
  7         Prong One: Former student, John Lema, sues two University employees (Dr.
  8 Lee Mintz and Andrea Parashos) simply because they were involved in investigating
  9 and charging Lema with violations of the student code of conduct. These are
 10 precisely the type of claims that fall within the purview of California’s anti-SLAPP
 11 statute, just as if a criminal defendant sued a prosecutor. Lema sues Defendants
 12 because of their petitioning conduct in his quasi-judicial student misconduct
 13 proceeding. California Code of Civil Procedure 425.16 specifically applies where a
 14 lawsuit is premised on such petitioning conduct.
 15         Lema does not dispute that proceedings under CSU Executive Order 1098,
 16 like the student misconduct investigation here, are protected by the anti-SLAPP
 17 statute as official proceedings authorized by law. Because he cannot avoid the anti-
 18 SLAPP statute’s clear application, Lema argues that his investigation was not a
 19 matter of public interest. But the anti-SLAPP statute applies to petitioning conduct
 20 regardless of whether it is connected to an issue of public concern.
 21         Lema also argues the anti-SLAPP statute should not protect petitioning
 22 conduct if the underlying legal proceeding lacked sufficient evidence or the
 23 defendant had an ill motive. But this is simply not how anti-SLAPP motions work.
 24 In prong one, courts analyze if the claims arise out of protected activity (such as
 25 statements made in official proceedings). In prong two, courts consider whether a
 26 plaintiff has a probability of prevailing. Courts do not analyze the legality of the
 27 petitioning conduct in prong one, only whether the claims arise from such protected
 28 petitioning conduct.

                                                1                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.638 Page 3 of 9




  1          Defendants have shown they are being sued because of their involvement in
  2 an official proceeding authorized by law. Lema’s claims arise out of Defendants’
  3 communications and conduct in this official proceeding. These claims fall within
  4 the purview of the anti-SLAPP statue.
  5          Prong Two: Once a defendant shows the claims arise from anti-SLAPP
  6 protected conduct, the burden shifts to the plaintiff to show, through admissible
  7 evidence, that he has a probability of prevailing on his claims. Lema abjectly fails
  8 to meet his burden on prong two. He does not provide this Court with any
  9 admissible evidence. He provides no declaration opposing this motion and merely
 10 submits two unauthenticated exhibits rife with hearsay. Without admissible
 11 evidence, Lema has not met his burden of showing he has a probability of prevailing
 12 on his claims. Lema’s claims are also not legally sound as Defendants are immune
 13 from suit for their discretionary conduct and alleged misrepresentations.
 14          Because Lema’s claims lack merit and attack Defendants’ protected conduct,
 15 Defendants request that their anti-SLAPP motion be granted.
 16    II.    PRONG ONE: LEMA’S CLAIMS AGAINST DEFENDANTS ARISE
 17                    SQUARELY UNDER THE ANTI-SLAPP STATUTE
 18          As set forth in Defendants’ moving papers, Lema sues Defendants for their
 19 statements made in furtherance of University proceedings arising under CSU
 20 Executive Order 1098, which is protected by the anti-SLAPP statute as petitioning
 21 conduct. Code Civ. Proc. § 425.16 (e)(1), (2); Laker v. Board of Trustees of
 22 California State University, 32 Cal.App.5th 745, 765 (2019). As a matter of law,
 23 proceedings under Executive Order 1098 are “official proceedings authorized by
 24 law.” Id. Lema does not contend otherwise. See Dkt. 22, Opposition, 3:5- 5:8.
 25          Rather, Lema argues that Defendants’ petitioning conduct should not be
 26 protected because it did not involve a matter of public interest or because the
 27 underlying proceeding lacked evidence. Both arguments fail.
 28 / / /

                                               2                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.639 Page 4 of 9




  1 A.      Defendants’ Petitioning Conduct is Protected Regardless of Whether It
  2         Involved a Public Issue
  3         The anti-SLAPP statute protects two broad categories of conduct: (1) free
  4 speech related to a public interest issue, and (2) petitioning conduct or availing
  5 oneself of the judicial, legislative, or quasi-judicial/legislative process. Lema argues
  6 the anti-SLAPP statute does not protect Defendants’ statements in his student
  7 misconduct investigation because their investigation did not involve a matter of
  8 public interest. Dkt. 22, Opposition, 5:9-26. However, he erroneously applies the
  9 anti-SLAPP standard for free speech instead of the applicable standard for
 10 petitioning conduct.
 11         The conduct underlying Lema’s claims does not pertain to the right to free
 12 speech (Section 425.16, subdivision (e)(3)), but the right to petition, i.e. availing
 13 oneself to the courts or legislative process or other official proceedings authorized
 14 by law (subdivisions (e)(1) and(2)). The California Supreme Court has held that the
 15 plain language of anti-SLAPP statute encompasses any cause of action arising from
 16 any statement or writing made in, or in connection with, an issue under
 17 consideration in an official proceeding—a moving defendant is not required to
 18 demonstrate separately that the petitioning conduct concerned an issue of public
 19 significance. See Briggs v. Eden Council for Hope & Opportunity, 19 Cal.4th 1106,
 20 1116-1117 (1999); Code Civ. Proc. § 425.16 (e)(1), (2). The anti-SLAPP statute
 21 protects all petition-related activities even if no public issue is involved. Id. [“all
 22 that matters is that the First Amendment activity take place in an official proceeding
 23 or be made in connection with an issue being reviewed by an official
 24 proceeding”…“The statute does not limit its application to certain types of petition
 25 activity”].
 26         If Defendants were arguing their conduct was protected by the anti-SLAPP
 27 statute because they were engaging in free speech activity, then Defendants would
 28 also need to show there was public interest in their speech, but that is not the portion

                                                 3                     Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.640 Page 5 of 9




  1 of the code section at issue here. Defendants’ conduct is not protected as free
  2 speech activity, but as petitioning conduct. The anti-SLAPP statute protects all
  3 petitioning conduct as there is always public significance in judicial and quasi-
  4 judicial proceedings. Id. Thus, whether the University’s investigation involved a
  5 matter of public interest has no bearing on the Court’s determination of whether the
  6 anti-SLAPP statute applies here.
  7 B.      Lema’s Arguments that Defendants Acted Illegitimately Are Irrelevant
  8         to Prong One of the Anti-SLAPP Analysis
  9         Next, Lema asserts, without legal support, that the anti-SLAPP statute should
 10 not protect Defendants because he concludes that Defendants acted willfully to harm
 11 Lema or lacked evidence against Lema in the underlying investigation. Dkt. 22,
 12 Opposition, 4:7-10. However, even if Lema could prove his conclusory statements
 13 (which he cannot), a defendant’s intent is irrelevant to determining the first step of
 14 the anti-SLAPP analysis—whether the statute applies to the claims. Defendants’
 15 motive and the merits of the underlying petitioning conduct is not at issue in the first
 16 prong, but could be raised by Lema (through admissible evidence) in the second
 17 prong to show a probability of prevailing. See Doe v. Gangland Productions, Inc.,
 18 730 F.3d 946, 954 (9th Cir. 2013) (quoting Navellier v. Sletten, 29 Cal.4th 82, 94
 19 (2002) [“To determine whether a defendant has met its initial burden, a court does
 20 not evaluate whether defendant's conduct was lawful or unlawful. Instead, any
 21 claimed illegitimacy of the defendant’s acts is an issue which the plaintiff must raise
 22 and support in the second step of the analysis when the plaintiff bears the burden to
 23 show a probability of prevailing”].) If, as Lema suggests, an anti-SLAPP defendant
 24 had to establish on the first prong that its actions were lawful, then the second prong
 25 “as to whether the plaintiff has established a probability of success would be
 26 superfluous.” Id. Accordingly, California courts and the Ninth Circuit have
 27 consistently held that Defendants may satisfy their prong one burden to show they
 28 were engaged in petitioning conduct under the anti-SLAPP statute, even when their

                                                4                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.641 Page 6 of 9




  1 conduct was alleged by Plaintiff to be unlawful. Id. at 954.
  2          It is undisputed that Lema sues Defendants because of their communications
  3 to him as part of the quasi-judicial student-misconduct investigation. This conduct
  4 falls under subdivisions (e)(1) and (e)(2) of the anti-SLAPP statute, Government
  5 Code section 425.16.
  6   III.   PRONG TWO: LEMA OFFERS NO EVIDENCE DEMONSTRATING
  7                A LIKELIHOOD OF SUCCESS AGAINST DEFENDANTS
  8          Because Defendants have established that the claims against them arise from
  9 protected conduct, the burden shifts to Lema to show that he is likely to prevail on
 10 each challenged claim. Code Civ. Proc. § 425.16(b)(1); Sweetwater Union High
 11 Sch. Dist. v. Gilbane Bldg. Co., 6 Cal. 5th 931, 940 (2019) [When a SLAPP
 12 defendant makes a threshold showing that a cause of action arises from protected
 13 speech or conduct, the burden shifts to the plaintiff to show, through admissible
 14 evidence, a probability of prevailing on the merits at trial]. This second step is a
 15 “summary-judgment-like procedure.” Id. Courts look at whether the plaintiff has
 16 stated a legally sufficient claim and made prima facie factual showing sufficient to
 17 sustain a favorable judgment. Lema has failed to meet his burden.
 18          First, Lema offers no admissible evidence to support his claims. Lema offers
 19 no declaration, affidavit, or testimony. The only evidence he provides this Court are
 20 two unauthenticated exhibits, one of which is double hearsay. Dkt. 22-1 and 22-2.
 21 Without admissible evidence, Lema cannot show he could prevail on any claim at
 22 trial. As the California Supreme Court explained in 2019, “[a]s to the second step
 23 inquiry, a plaintiff seeking to demonstrate the merit of the claim ‘may not rely solely
 24 on its complaint, even if verified; instead, its proof must be made upon competent
 25 admissible evidence.’” Sweetwater Union, supra, 6 Cal. 5th 931, 940 [internal
 26 citations omitted]; see also Nicosia v. De Rooy, 72 F. Supp. 2d 1093, 1097 (N.D.
 27 Cal. 1999) [“Pleadings by themselves are inadequate to demonstrate a prima facie
 28 case the plaintiff must submit admissible evidence to show a probability of

                                                5                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.642 Page 7 of 9




  1 prevailing at trial”]. Lema assumes this Court will accept the facts in his complaint
  2 as true and draw inferences in his favor, but this is not a motion to dismiss. Dkt. 22,
  3 Opposition, 7:21-22. This is an anti-SLAPP motion, and Lema is required to submit
  4 admissible evidence. He has not done so.
  5         In determining an anti-SLAPP plaintiff’s probability of success, courts may
  6 consider declarations, affidavits, or other statements under oath; but in addition to
  7 submission in the proper form, the evidence relied on by the plaintiff must also be
  8 admissible at trial. Id. at 945-946.
  9               In sum, at the second stage of an anti-SLAPP hearing, the
                  court may consider affidavits, declarations, and their
 10               equivalents if it is reasonably possible the proffered
                  evidence set out in those statements will be admissible at
 11               trial. Conversely, if the evidence relied upon cannot be
                  admitted at trial, because it is categorically barred or
 12               undisputed factual circumstances show inadmissibility, the
                  court may not consider it in the face of an objection.
 13
 14 Id. at 949. Lema has provided neither a statement under oath, nor evidence in a
 15 form that would be admissible at trial. An unauthenticated 220-page document that
 16 purports to contain a hearsay summary of hearsay statements is certainly not
 17 evidence that would be admissible at trial. Dkt. 22-1. Put simply, Lema has
 18 provided no evidence this Court could consider to determine he has a probability of
 19 prevailing at trial.
 20         Even it Lema’s unauthenticated exhibits were considered by this Court, they
 21 do not show that he could prevail on his claims against Defendants. For example,
 22 Lema has provided no evidence from which this Court could conclude that he was
 23 likely to prove at trial that he has been harmed. Harm is an element of each of his
 24 claims. Harm cannot be assumed where the uncontested admissible evidence shows
 25 that the misconduct charges against Lema were dropped, he graduated, and was
 26 never disciplined by the University. Dkt. 18-2, Mintz Dec. 6:3-10. Similarly, Lema
 27 has not shown through any evidence that Defendants were negligent, made any
 28 misrepresentation to him, or acted with malice. See Nicosia v. De Rooy, 72 F. Supp.

                                                6                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.643 Page 8 of 9




  1 2d at 1097 [granting anti-SLAPP motion to strike because malice not shown through
  2 admissible evidence.].
  3        Lema relies only on an argument that belies his misunderstanding of the
  4 scope of the investigation and the student conduct code. As shown through
  5 Defendants’ evidence, the University was investigating years of alleged hazing
  6 within a fraternity that Lema was a member, not just a single night of hazing gone
  7 awry. Dkt. 18-2, Mintz Dec. 3:19-26. Additionally, Lema need not have been the
  8 hazer or personally engaged in hazing to be properly charged with misconduct; mere
  9 acquiescence or apathy in the presence of hazing is a violation of the student
 10 conduct code. Cal. Code of Reg. 5 § 41301 (b)(8). So, even if there was evidence
 11 supporting it, Lema’s argument is without merit because he could have been
 12 lawfully and legitimately investigated even if he was not personally involved in the
 13 student’s death. Even if this Court were to consider Lema’s inadmissible
 14 submissions, he has not shown that he is likely to prevail in proving the elements of
 15 his claims. Since Lema failed to meet his burden, Defendants’ anti-SLAPP motion
 16 must be granted. Conroy v. Spitzer, 70 Cal.App.4th 1446, 1450 (1999) [“If the
 17 opposing party fails to make the requisite showing, the anti-SLAPP motion must be
 18 granted.”].
 19        Finally, as argued in the moving papers, Lema’s claims against Defendants
 20 are not legally tenable. For this independent reason, he does not have a probability
 21 of prevailing. Defendants are immune from liability for their acts in instituting and
 22 prosecuting quasi-judicial disciplinary proceedings against Lema. Cal. Gov’t Code
 23 § 821.6 [no liability for conduct instituting and prosecuting administrative
 24 proceedings]; Cal. Gov’t Code § 820.2 [no liability for discretionary acts]; Cal.
 25 Gov’t Code §§ 822.2 and 818.8 [no liability for misrepresentations]. Lema provides
 26 no reason why these immunities should not apply, other than conclusory statements
 27 that “Defendants acted with intentional malice when they conducted an all-
 28 encompassing investigation.” Dkt. 22, Opposition, 8:22-24. Such conclusory

                                               7                    Case No. 21CV2131 JAH KSC
Case 3:21-cv-02131-JAH-KSC Document 23 Filed 08/16/23 PageID.644 Page 9 of 9




  1 statements, unsupported by evidence, need not be considered by this Court and do
  2 not demonstrate that Lema’s claims are legally tenable.
  3         IV.   DEFENDANTS MUST BE AWARDED FEES AND COSTS
  4        A prevailing defendant on a special motion to strike “shall be entitled” to
  5 recover its attorneys’ fees and costs. Code Civ. Proc. § 425.16(c); Ketchum v.
  6 Moses, 24 Cal.4th 1122, 1131 (2001). Defendants will submit a separate motion
  7 requesting their reasonable fees and costs, and requests that the Court award them
  8 the fees and costs incurred in connection with this motion.
  9                                 V.    CONCLUSION
 10        For the reasons set forth herein and in Defendants’ moving papers,
 11 Defendants respectfully request that the Court grant their Motion to Strike Lema’s
 12 second, third, fourth, and fifth claims and award them the fees and costs incurred in
 13 bringing this motion.
 14
 15 Dated: August 16, 2023               QUARLES & BRADY LLP
 16
 17                                      By:         /s/ Heather C. Davis
 18                                            CORRIE J. KLEKOWSKI
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 20                                            Trustees of the California State University;
                                               Andrea Parashos; and Lee Mintz
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                                                8                    Case No. 21CV2131 JAH KSC
